      Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 1 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------           x
JON D. GRUBER, Individually And On         :   No. 16-cv-09727-JSR
Behalf Of All Others Similarly Situated,   :
                                           :
                   Plaintiff,              :   Hon. Jed S. Rakoff
                                           :
      v.                                   :
                                           :
RYAN R. GILBERTSON, et al.,                :
                                           :
                   Defendants.             :
                                           :
--------------------------------           x


                MEMORANDUM OF LAW IN SUPPORT OF
         PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL OF
     CLASS ACTION SETTLEMENTS WITH THE OFFICER AND DIRECTOR
          DEFENDANTS AND DEFENDANT RYAN R. GILBERTSON
            Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 2 of 33




                                                   TABLE OF CONTENTS

                                                                                                               Page(s)
PRELIMINARY STATEMENT .....................................................................................................1
FACTUAL AND PROCEDURAL BACKGROUND.....................................................................4
I.        THE ALLEGATIONS .........................................................................................................4
II.       EXTENSIVE DISCOVERY HAS BEEN TAKEN .............................................................6
III.      CERTIFICATION OF THE CLASS AND NOTICE..........................................................7
IV.       SUMMARY JUDGMENT MOTION .................................................................................8
V.        JUDICIAL REASSIGNMENT............................................................................................8
VI.       NEGOTIATIONS LEADING TO THE SETTLEMENTS .................................................9
ARGUMENT .................................................................................................................................10
I.        THE PROPOSED SETTLEMENTS SATISFY THE REQUIREMENTS FOR
          PRELIMINARY APPROVAL ..........................................................................................11
          A.         The Settlements Are Procedurally Fair ..................................................................12
                     1.         Adequate Representation ...........................................................................13
                     2.         The Proposed Settlements Are the Product of Good Faith, Informed, and
                                Arm’s-Length Negotiations .......................................................................13
          B.         The Settlements Are Substantively Fair ................................................................14
                     1.         The Costs, Risks, and Delay of Trial and Appeal ......................................14
                     2.         The Proposed Method of Processing Claims and Distributing Relief is
                                Equitable ....................................................................................................17
                     3.         The Terms of Any Proposed Award of Attorneys’ Fees ...........................18
II.       THE PROPOSED SETTLEMENTS SATISFY THE GRINNELL FACTORS ...............19
          A.         Complexity, Expense, Likely Duration .................................................................19
          B.         Reaction of Class ...................................................................................................19
          C.         Stage of Proceedings and Amount of Discovery ...................................................20
          D.         Risk of Establishing Liability and Damages ..........................................................21
          E.         Risk of Maintaining the Class ................................................................................21
          F.         Ability of Defendant to Withstand Greater Judgment ...........................................22

                                                                      i
            Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 3 of 33




          G.         Reasonableness of the Settlements in Light of Attendant Risks of Litigation ......22
III.      THE MANNER AND FORM OF NOTICE SHOULD BE APPROVED ........................23
          A.         The Manner of Notice Satisfies Rule 23(e)(1) .......................................................23
          B.         The Form of Notice Satisfies Rule 23(c)(2)(B) .....................................................23
IV.       PROPOSED SCHEDULE OF SETTLEMENT EVENTS ................................................24
CONCLUSION ..............................................................................................................................25




                                                                    ii
           Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 4 of 33




                                              TABLE OF AUTHORITIES

Cases
Arbuthnot v. Pierson,
      607 F.App'x 73 (2d Cir. 2015) .......................................................................................... 21
Bahena v. Park Ave. S. Mgmt. LLC,
      2017 WL 3452383 (S.D.N.Y. Aug. 9, 2017) .................................................................... 11
Charron v. Pinnacle Grp. NY LLC,
      874 F.Supp.2d 179 (S.D.N.Y. 2012)................................................................................. 16
Christine Asia Co. v. Yun Ma,
       No. 15-MD-02631 (CM) (SDA), 2019 WL 5257534 (S.D.N.Y. Oct. 16, 2019) ............. 15
City of Detroit v. Grinnell Corp.
        495 F.2d 448 (2d Cir. 1974)............................................................................ 12, 19, 21, 22
City of Providence v. Aeropostale, Inc.,
        No. 11 CIV. 7132 CM GWG, 2014 WL 1883494 (S.D.N.Y. May 9, 2014) .................... 21
D’Amato v. Deutsche Bank,
     236 F.3d 78 (2d Cir. 2001)................................................................................................ 14
Denney v. Deutsche Bank AG,
      443 F.3d 253 (2d Cir. 2006).............................................................................................. 20
Diamond v. Fogelman,
      No. CV–90–0900, 1992 WL 167271 (E.D.N.Y. June 26, 1992) ...................................... 20
Eisen v. Carlisle & Jacquelin
       417 U.S. 156 (1974) .......................................................................................................... 23
Gilliam v. Addicts Rehab. Ctr. Fund,
       2008 WL 782596 (S.D.N.Y. Mar. 24, 2008) .................................................................... 16
Goldberger v. Integrated Res., Inc.,
      209 F.3d 43 (2d Cir. 2000)................................................................................................ 12
Gruber v. Gilbertson,
      2018 WL 1418188 (S.D.N.Y. Mar. 20, 2018) .................................................................... 2
Gruber v. Gilbertson,
      2019 WL 4439415 (S.D.N.Y. Sept. 17, 2019).............................................................. 2, 13
Gruber v. Gilbertson,
      2019 WL 4458956 (S.D.N.Y. Sept. 17, 2019 ..................................................................... 2
Gruber v. Gilbertson,
      2021 WL 2482109 (S.D.N.Y. June 17, 2021) .................................................................... 2

                                                                  iii
           Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 5 of 33




Gruber v. Gilbertson,
      2021 WL 3524089 (S.D.N.Y. Aug. 10, 2021) .................................................................. 19
In re Am. Int'l Grp., Inc. Sec. Litig.,
       293 F.R.D. 459 (S.D.N.Y. 2013) ...................................................................................... 13
In re Excess Value Ins. Coverage Litig.,
        No. M-21-84RMB, 2004 WL 1724980 (S.D.N.Y. July 30, 2004) ................................... 20
In re GSE Bonds Antitrust Litig.,
       414 F.Supp.3d 686 (S.D.N.Y. 2019)........................................................................... 11, 17
In re Healthsouth Corp. Sec. Litig.,
       334 F.App’x 248 (11th Cir. 2009) .................................................................................... 20
In re Hi-Crush Partners L.P. Sec. Litig.,
       No. 12-CIV-8557 CM, 2014 WL 7323417 (S.D.N.Y. Dec. 19, 2014)............................. 12
In re Initial Pub. Offering Sec. Litig.
        671 F. Supp. 2d 467 (S.D.N.Y. 2009)............................................................................... 18
In re Merrill Lynch & Co., Inc. Research Reports Sec. Litig.,
       No. 02 MDL 1484, 2007 WL 313474 (S.D.N.Y. Feb. 1, 2007) ....................................... 15
In re Merrill Lynch Tyco Rsch. Sec. Litig.,
       249 F.R.D. 124 (S.D.N.Y. 2008) ...................................................................................... 18
In re PaineWebber Ltd. P’ships Litig.,
       147 F.3d 132 (2d Cir. 1998).............................................................................................. 11
In re PaineWebber Ltd. P’ships Litig.,
       171 F.R.D. 104 (S.D.N.Y. 1997) ...................................................................................... 17
In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,
       330 F.R.D. 11 (E.D.N.Y. 2019) ........................................................................................ 13
In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,
       986 F.Supp.2d 207 (E.D.N.Y. 2013) ................................................................................ 16
In re Veeco Instruments Inc. Sec. Litig.,
        No. 05 MDL 01695 (CM), 2007 WL 4115809 (S.D.N.Y. Nov. 7, 2007) ........................ 21
In re Warner Chilcott Ltd. Sec. Litig.,
       No. 06CIV11515, 2008 WL 5110904 (S.D.N.Y. Nov. 20, 2008) .................................... 19
In re Warner Commc’ns
       618 F.Supp. 735 (S.D.N.Y. 1985) .................................................................................... 21
Khait v. Whirlpool Corp.
       2010 WL 2025106 (E.D.N.Y. Jan. 20, 2010) ................................................................... 18


                                                                iv
            Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 6 of 33




Lowery v. City of Albuquerque,
      No. CIV 09-0457 JB/WDS, 2013 WL 1010384 (D.N.M. Feb. 27, 2013) ........................ 20
Meredith Corp. v. SESAC LLC,
      87 F.Supp. 3d 650 (S.D.N.Y. 2015).................................................................................. 18
Moulton v. United States Steel Corp.,
      581 F.3d 344 (6th Cir. 2009) ............................................................................................ 20
Newman v. Stein
     464 F.2d 689 (2d Cir. 1972).............................................................................................. 22
Oklahoma Firefighters Pension & Ret. Sys. v. Lexmark Int’l, Inc.,
      No. 17CV5543, 2021 WL 76328 (S.D.N.Y. Jan. 7, 2021) ............................................... 12
Park v. The Thomson Corp.,
       2008 WL 4684232 (S.D.N.Y. Oct. 22, 2008) ................................................................... 15
Polar Int'l Brokerage Corp. v. Reeve
       187 F.R.D. 108 (S.D.N.Y. 1999) ...................................................................................... 20
Silver v. 31 Great Jones Rest.,
        2013 WL 208918 (S.D.N.Y. Jan. 4, 2013) ....................................................................... 11
Story v. SEFCU,
        2021 WL 736962 (N.D.N.Y. Feb. 25, 2021) .................................................................... 18
U.S. v. Gilbertson,
        970 F.3d 939 (8th Cir. 2020) .............................................................................................. 3

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc.,
     396 F.3d 96 (2d Cir. 2005) ........................................................................................ passim
Xuechen Yang v. Focus Media Holding Ltd.,
      2014 WL 4401280 (S.D.N.Y. Sept. 4, 2014).................................................................... 17

Statutes
15 U.S.C. §78j(b) ............................................................................................................................ 2
15 U.S.C. §78m(d) ...................................................................................................................... 5, 6
15 U.S.C. §78p(a) ....................................................................................................................... 5, 6
15 U.S.C. §78t(a) ............................................................................................................................ 2
15 U.S.C. §78t-1 ............................................................................................................................. 2
15 U.S.C. §78u-4 ............................................................................................................................ 4
15 U.S.C. §78u-4(a)(7)(A-D)........................................................................................................ 23


                                                                       v
            Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 7 of 33




15 U.S.C. §78u-4(b)(3)(B) .............................................................................................................. 6
17 C.F.R. §240.10b-5 ...................................................................................................................... 2
Securities Exchange Act of 1934
          Section 10(b) ............................................................................................................... 2, 3, 4
          Section 20(a) ................................................................................................................... 2, 4
          Section 20A..................................................................................................................... 2, 7

Other Authorities
2018 Advisory Notes to Fed. R. Civ. P. 23, Subdiv. (e)(2) .......................................................... 11
Manual for Complex Litigation, Third, § 30.42 (1995) ................................................................ 11

Rules
Federal Rules of Civil Procedure
          Rule 23 .............................................................................................................................. 11
          Rule 23(a)........................................................................................................................ 2, 7
          Rule 23(b)(3) ................................................................................................................... 2, 7
          Rule 23(c)(1)(C)................................................................................................................ 21
          Rule 23(c)(2)(B)................................................................................................................ 23
          Rule 23(c)(2)(B)(v) ......................................................................................................... 2, 8
          Rule 23(e)................................................................................................................ 1, 11, 12
          Rule 23(e)(1) ..................................................................................................................... 23
          Rule 23(e)(2) ............................................................................................................... 11, 19
          Rule 23(e)(2)(A) ............................................................................................................... 12
          Rule 23(e)(2)(B)................................................................................................................ 12
          Rule 23(e)(2)(C)(i) ............................................................................................................ 19
          Rule 23(e)(2)(D) ............................................................................................................... 14
          Rule 23(f) ............................................................................................................................ 8




                                                                       vi
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 8 of 33




       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, 1 Plaintiff and Class

Representative Jon D. Gruber (hereafter the “Class Representative”), individually and on behalf

of himself and the certified Class, respectfully submits this memorandum of law in support of his

motion for: preliminary approval of classwide settlements of this securities fraud class action

(the “Action”) with (1) defendants Gabriel G. Claypool, Timothy R. Brady, Craig M. McKenzie,

Paul M. Cownie, David J. Fellon, Gary L. Alvord, Terry H. Rust, and James L. Thornton (the

“Officer and Director Defendants”), and (2) defendant Ryan R. Gilbertson (“Gilbertson”). 2 If

finally approved following notice to the Class and this Court’s final fairness hearing, the two

settlements will resolve all claims in this Action, except for Class claims against defendant

Michael L. Reger, which are set to go to trial on June 6, 2022. By this motion, the Class

Representative seeks entry of the proposed Preliminary Approval Order, which has been agreed

to in form by the Settling Parties. 3 It provides for, inter alia, approval of the form and manner of

giving notice of the proposed Settlements to the Class including a Proof of Claim form, and the

scheduling of a final fairness hearing.

                                PRELIMINARY STATEMENT

       For more than five years, the Class Representative has aggressively prosecuted this

complex securities fraud class action, which has been hotly contested on virtually every material




1
    All references hereafter to “Rule __” are to the Federal Rules of Civil Procedure.
2
    The settlement agreements are attached as Exhibits 1 and 2, respectively, to the Declaration
of Solomon B. Cera (“Cera Decl.”), filed herewith. Ex. 1 is hereafter referred to as the “D&O
Settlement” and Ex. 2 the “Gilbertson Settlement.”
3
   “Settling Parties” refers, collectively, to the Class Representative, the Officer and Director
Defendants, and Gilbertson.

                                                  1
           Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 9 of 33




factual and legal point. Two classwide settlements are now before the Court for preliminary

approval.

       Following an in depth investigation of the facts leading to the filing of the complaints

herein, resolution of multiple motions to dismiss gave rise to the filing of the 135 page operative

Fourth Amended Complaint (“FAC”). 4 ECF 271. Thereafter, substantial fact and expert

discovery was taken. Class certification was vigorously litigated, resulting in the Court’s

certification of a Class and Subclass on August 10, 2021 pursuant to Rules 23(a) and (b)(3).

Gruber v. Gilbertson, 2019 WL 4439415, at *1 (S.D.N.Y. Sept. 17, 2019). ECF 396.

Thereafter, pursuant to the Court’s order and Rule 23(c)(2)(B), Notice of the Pendency of this

class action was disseminated to Class members on September 9, 2021. ECF 403. The Notice

included a right of Class members to exclude themselves pursuant to Rule 23(c)(2)(B)(v).

Significantly, not one of the thousands of persons and entities who were sent the Notice chose to

opt-out.

       In addition, a combined motion for summary judgment under Rule 56 was filed by all

defendants based on numerous arguments as to the sufficiency of the evidence adduced to

support the Class claims under Sections 10(b), 20(a), and 20A of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §78j(b), 78t(a), and 78t-1, and Rule 10b-5 promulgated

thereunder, 17 C.F.R. §240.10b-5. Defendants’ motion was denied. Gruber v. Gilbertson, 2021

WL 2482109 (S.D.N.Y. June 17, 2021). Following re-assignment of this case to the Honorable

Jed S. Rakoff, the case was promptly set for trial to begin on February 4, 2022 (this date was




4
   The Court’s orders on the motions to dismiss are found at Gruber v. Gilbertson, 2018 WL
1418188 (S.D.N.Y. Mar. 20, 2018) and Gruber v. Gilbertson, 2019 WL 4458956 (S.D.N.Y.
Sept. 17, 2019). ECF 119 and 252.

                                                 2
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 10 of 33




later continued to June 1, 2022 due to COVID-19 related issues) and trial is now set for June 6,

2022.

        Thus, this Action has been intensely litigated for a lengthy period of time. It was only on

the eve of the prior trial date that meaningful settlement discussions began with the Officer and

Director Defendants. The Class Representative has now reached an agreement with these

defendants, assisted by the retired former Chief Magistrate Judge of the Northern District of

California, the Hon. Edward A. Infante (Ret.) acting as mediator, to settle the Class claims

against them for a cash payment of $13,950,000. This is approximately 21% of the Class’

estimated Section 10(b) damages before pre-judgment interest. 5 The D&O Settlement merits

preliminary approval. The Class Representative has also reached an agreement with defendant

Gilbertson to settle the Class claims against him in consideration of Gilbertson’s cooperation,

including testifying at the June 6, 2022 trial. While the Gilbertson Settlement involves

cooperation only, it nonetheless merits preliminary approval. Gilbertson has already paid dearly

for his conduct related to Dakota Plains Holdings, Inc. (“Dakota Plains” or the “Company”). He

is presently serving a 12 year prison sentence for his role in the fraud. See U.S. v. Gilbertson,

970 F.3d 939 (8th Cir. 2020). He has paid more than $15 million in restitution to the United

States, and owes significantly more in fines to be paid. Gilbertson and his counsel have

demonstrated to Plaintiff’s Counsels’ 6 satisfaction that he has no ability to fund a cash settlement

of the Class claims alleged against him. Gilbertson has nonetheless agreed to provide significant




5
    If the D&O Settlement is preliminarily approved, the settlement consideration is to be
deposited in an interest bearing escrow account at Heritage Bank of Commerce, as escrow agent,
no later than thirty (30) calendar days from entry of the Preliminary Approval Order (“PAO”).
6
  Plaintiff’s Counsel refers collectively to Class Counsel, Cera LLP, together with
MoloLamken LLP and Abraham Fruchter & Twersky, LLP.

                                                  3
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 11 of 33




value to the Class in the form of his cooperation, including at trial. This is very meaningful, as

the Class alleges Dakota Plains was founded in fraud by non-settling defendant Michael L. Reger

working in tandem with Gilbertson and their colleague James L. Sankovitz. 7 Under the

circumstances, the Gilbertson Settlement merits preliminary approval.

                      FACTUAL AND PROCEDURAL BACKGROUND

I.     THE ALLEGATIONS

       This unusual and complex case has had a lengthy history. On December 16, 2016, a

shareholder class action was filed in this Court against, inter alia, certain of the Officer and

Director Defendants for alleged violations of Sections 10(b) and 20(a) of the Exchange Act, and

Rule 10b-5 promulgated thereunder based on allegedly false and misleading statements issued by

Dakota Plains 8 in the period from March 23, 2012 through August 15, 2016. On February 14,

2017, Jon D. Gruber moved to be appointed lead plaintiff pursuant to the Private Securities

Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §78u-4 et seq. On April 7, 2017, the

Court appointed Mr. Gruber as Lead Plaintiff and his attorneys, the law firm of Cera LLP, as

Lead Counsel. ECF 35.

       Dakota Plains was taken public on March 23, 2012 via a reverse merger with a defunct

Utah-based tanning salon that had maintained a public listing. FAC ¶41. Defendants Reger and

Gilbertson were the driving forces behind the creation and subsequent public listing of Dakota

Plains. The Company was supposed to be in the business of transloading oil from the Williston


7
  These individuals were sometimes referred to by Dakota Plains insiders as “The Three
Amigos.”
8
    On December 20, 2016, Dakota Plains and its affiliated companies filed a voluntary petition
under Chapter 11 of Title 11 of the United States Code in the United States Bankruptcy Court for
the District of Minnesota (the “Bankruptcy Court”). Accordingly, the Class Representative could
not name Dakota Plains as a defendant in the complaints he filed.

                                                  4
       Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 12 of 33




Basin of North Dakota to East Coast refineries. Defendants Reger and Gilbertson are alleged to

have founded, owned and controlled Dakota Plains, one of many oil/energy related companies

they owned and controlled together in their tangled web of alleged business frauds. The Class

alleges they intentionally obscured from the investing public their ownership and control of the

Company, spreading their stock among nominee accounts to be able to conduct a complex

securities fraud scheme upon taking the Company public in March 2012, as well as to be able to

subsequently manipulate and surreptitiously sell stock in the Company without detection. The

FAC alleges that Reger and Gilbertson each owned more than 5% of the Company and made its

key decisions and directed its core business operations, but never reported their ownership, as

required by §§13(d) and 16(a) of the Exchange Act, 15 U.S.C. §§78m(d), p(a). The FAC alleges

Reger and Gilbertson caused the Company to issue $9 million in 12% notes with an embedded

additional payment provision (“APP”), triggered upon going public, which varied based on the

average price of the Company’s stock in the first 20 days of public trading. Reger and

Gilbertson together purchased $7.5 million of the $9 million of notes. After going public via

reverse merger on March 22, 2012, the FAC alleges Reger and Gilbertson intentionally

manipulated the price of the Company’s stock up in its first 20 days of public trading to trigger a

$32.85 million windfall additional payment. The Company, a small entity with a handful of

employees, could never recover from this massive debt burden and ultimately descended into

bankruptcy in December 2016.

       On October 31, 2016 the SEC issued a press release announcing: (1) its civil enforcement

action against, inter alia, Gilbertson, Securities and Exchange Commission v. Ryan Gilbertson,

et al., No. 16-cv-3779, (D. Minn., Oct. 31, 2016) together with (2) its settlement and cease and

desist order with Reger, who agreed to pay nearly $8 million in disgorgement, interest and civil



                                                 5
         Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 13 of 33




money penalties.

         The fundamental theory of the case is that the members of the Class purchased Dakota

Plains stock at inflated prices caused by fraud by omission alleged in the FAC. Who owns more

than 5% of a Company’s shares is material information that must be disclosed under the federal

securities laws. See §§13(d) and 16(a) of the Exchange Act. No such required disclosure was

made. That Reger and Gilbertson were also the control persons of Dakota Plains is particularly

significant. Before Dakota Plains went public, Gilbertson and Reger were the subject of

significant negative press in mainstream financial media (e.g., Barron’s), regarding their

management of another public company, Northern Oil and Gas, Inc. (“NOG”). NOG was called

by Twin Cities Business Magazine in 2011 “a tangled web of overlapping family and business

relationships; cross-hatched investments in companies that are competitors; massive insider

selling; a vendor relationship that doesn’t pass the smell test; [and] a questionable board

appointment” and “a company that appears to operate at the edge of the ethical envelope.”

Clearly, Reger and Gilbertson’s ownership of more than 5% of its stock and their control of

Dakota Plains were material facts required to be required.

II.      EXTENSIVE DISCOVERY HAS BEEN TAKEN

         Following resolution of defendants’ motions to dismiss, and the lifting of the PSLRA’s

mandatory stay of discovery 9 extensive discovery was conducted in this Action. Indeed, the

discovery necessary to effectively prosecute this factually complex case cannot be overstated.

The FAC alleges that this case involved a highly sophisticated, secret scheme conducted by

individuals who used numerous limited liability companies, joint ventures, family members, and




9
      15 U.S.C. §78u-4(b)(3)(B).

                                                 6
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 14 of 33




friends to conceal and carry out the securities fraud that allegedly harmed thousands of Dakota

Plains’ shareholders. 10 As a first step, the Class Representative arranged to obtain all relevant

Company documents from the bankruptcy trustee for Dakota Plains beginning in 2017. Starting

in April 2018 and continuing through January 2020, Class Counsel engaged in extensive

document discovery efforts involving the defendants, more than a dozen third parties, multiple

government agencies, including the DOJ and SEC, and family members of defendants Reger and

Gilbertson. These efforts resulted in document productions in excess of 1 million pages that

were reviewed and analyzed. Further, counsel took or defended more than two dozen

depositions of fact and expert witnesses over the course of the litigation. Given the intensive

nature of the discovery, Class Counsel are well positioned to evaluate the reasonableness of the

settlements.

III.   CERTIFICATION OF THE CLASS AND NOTICE

       On January 29, 2019, a class certification motion was filed pursuant to Rules 23(a) and

(b)(3). Following full briefing and oral argument, the Court granted the motion on September

17, 2019. ECF 253. It certified a class of investors who purchased or otherwise acquired Dakota

Plains common stock during the Class Period, as well as a Subclass of investors who purchased

Company stock contemporaneously with sales by defendants Reger and Gilbertson, pursuant to

Section 20A of the Exchange Act. Id. 11



10
    Indeed, this Action represents the only vehicle for redress for the beleaguered purchasers of
the common stock of Dakota Plains on the public market during the Class Period, as no recovery
has been made available to investors through either the bankruptcy case, Gilbertson’s criminal
conviction, or Reger’s SEC order.
11
   Excluded from the Class are the following persons or entities: (i) any named Defendant in the
Action and Dakota Plains; (ii) the parents, successors, subsidiaries, affiliates and assigns of any
named Defendant in the Action or of Dakota Plains; (iii) members of the Immediate Family of
any named Defendant in the Action; (iv) any person who was an officer or director of Dakota

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        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 15 of 33




       On October 1, 2019, the Defendants sought to immediately appeal the class certification

order to the Second Circuit pursuant to Rule 23(f). The Petition was denied on February 12,

2020. ECF 285. On September 21, 2020, Defendants moved to decertify the Class on various

grounds. ECF 322. That motion was denied on June 17, 2021. ECF 387.

       Thereafter, on August 6, 2021, the Court authorized a Notice of Pendency of Class

Action (“Notice of Pendency”) to be mailed to all Class members and a summary notice to be

published in the Wall Street Journal and Minneapolis Star Tribune. ECF 396. The Notice of

Pendency, which included an opt-out right pursuant to Rule 23(c)(2)(B)(v), was disseminated to

Class members on September 9, 2021 and the summary notice was published on September 13,

2021. ECF 403. There were no requests to opt out of the case. Id.

IV.    SUMMARY JUDGMENT MOTION

       On September 21, 2020, all defendants moved for summary judgment on various

grounds. ECF 312. These motions were vigorously litigated. ECF 356 and 359. Defendants’

summary judgment motions were denied in their entirety. ECF 387. 12

V.     JUDICIAL REASSIGNMENT

       Following the death of the Honorable Senior United States District Judge William H.

Pauley III, who had overseen proceedings in the Action from its inception, the Action was

reassigned to the Honorable Senior United States District Judge Jed S. Rakoff on July 28, 2021.




Plains during the Class Period; and (v) any firm, trust, corporation, or other entity in which any
of the named Defendants in the Action has a controlling interest or had a controlling interest
during the Class Period.
12
    The Court (per Judge Pauley), caused this decision to be published on the Court’s website as
a “Ruling of Special Interest.”

                                                 8
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 16 of 33




VI.    NEGOTIATIONS LEADING TO THE SETTLEMENTS

       Following reassignment of the case, the Court promptly set a February 4, 2022 trial date.

This date was subsequently continued to June 1, 2022, and then June 6, 2022.

       On April 27, 2022, with trial looming, the Class and the Officer and Director Defendants

participated in a voluntary mediation conducted by Judge Infante. They submitted detailed

mediation statements and conducted negotiations through him. The case against the Officer and

Director Defendants undoubtedly raises numerous difficult factual and legal points. The Class

Representative alleged that these defendants omitted to disclose material facts about Reger and

Gilbertson’s shareholding percentages, their control, and the fact they conducted a scheme to

manipulate the price of Dakota Plains stock to benefit themselves. The Officer and Director

Defendants have argued that the obligation to disclose greater than 5% shareholders rests with

those shareholders, and not the Company. Moreover, they maintained they acted responsibly in

investigating suspicions of wrongdoing by Reger and Gilbertson, but could not identify specific

facts giving rise to a disclosure obligation. While the Class disagrees with the validity and likely

success of these defenses, in light of the risks they presented at trial, as well as the circumstances

with available insurance coverage discussed below, the Class submits that the substantial cash

recovery of $13,950,000 reflected in the D&O Settlement is a significant achievement and

warrants preliminary approval.

       This is especially true given the insurance coverage available. Specifically, the Officer

and Director Defendants are insured under an insurance tower consisting of four (4) separate

insurance policies, each with a $5 million limit of liability. It is only upon exhaustion of the full

policy limits from one of the applicable policies in line, that the obligations arising under the

next policy are triggered. Moreover, each of the policies is “wasting” in that all defense costs,



                                                  9
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 17 of 33




including attorneys’ fees, are paid from the policies. By the time of the recent mediation, the

first policy had been entirely exhausted, leaving at most $15 million of available insurance.

Through their negotiation efforts, counsel for the Class were able to obtain in settlement 93% of

the remaining insurance policy proceeds from the three (3) remaining policies (i.e. $13,950,000),

for the benefit of the Class, even though it was only the second policy in the “tower” that was

technically available for payments, given that it had not been exhausted. In addition to this

substantial cash consideration, under the D&O Settlement, at least three (3) of the Officer and

Director Defendants, at the discretion of Class Counsel, are obligated to cooperate with counsel

in the continued prosecution of the case, including testifying at the trial against defendant Reger.

This is a significant additional benefit the Class has obtained from the D&O Settlement.

       The Gilbertson Settlement arose from intense recent negotiations. As noted, Gilbertson is

impecunious. Indeed, Gilbertson has paid more than $15 million to the government and owes

several million more. He and his counsel have satisfied Plaintiff’s Counsel that he is unable to

satisfy any judgment that may be obtained against him at trial. Thus, rather than pursuing

Gilbertson for money that does not exist, the Class will instead benefit from his cooperation at

trial in presenting the Class claims against defendant Reger. As noted, Dakota Plains was

created by Reger and Gilbertson and they worked in tandem with respect to many of the key

events involving the Company. Thus, Gilbertson’s cooperation is a valuable benefit to the Class.

                                          ARGUMENT

       The settlements with the Officer and Director Defendants and defendant Gilbertson merit

preliminary approval. Accordingly, the proposed Preliminary Approval Order should be entered

by the Court.




                                                 10
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 18 of 33




I.     THE PROPOSED SETTLEMENTS SATISFY THE REQUIREMENTS FOR
       PRELIMINARY APPROVAL
       Rule 23(e) requires court approval for class action settlements. There is a “strong judicial

policy in favor of settlements, particularly in the class action context.” Wal-Mart Stores, Inc. v.

Visa U.S.A. Inc., 396 F.3d 96, 116-17 (2d Cir. 2005) (“Wal-Mart Stores”) (quoting In re

PaineWebber Ltd. P’ships Litig., 147 F.3d 132, 138 (2d Cir. 1998)). The Second Circuit

recognizes that a “presumption of fairness, adequacy, and reasonableness may attach to a class

settlement reached in arm’s-length negotiations between experienced, capable counsel after

meaningful discovery.” Wal-Mart Stores, 396 F.3d at 116-17 (quoting Manual for Complex

Litigation, Third, § 30.42 (1995)).

       “Preliminary approval is typically granted ‘where the proposed settlement appears to be

the product of serious, informed, non-collusive negotiations, has no obvious deficiencies, [and]

does not improperly grant preferential treatment to class representatives or segments of the

class...” Bahena v. Park Ave. S. Mgmt. LLC, 2017 WL 3452383, at *2 (S.D.N.Y. Aug. 9, 2017)

(quoting Silver v. 31 Great Jones Rest., 2013 WL 208918, at *1 (S.D.N.Y. Jan. 4, 2013)). A

recent amendment to Rule 23 requires a district court to also consider whether it will “likely be

able to” finally approve the proposal under Rule 23(e)(2), which is a more exacting standard than

whether a settlement is “within the range of possible final approval” that previously applied in

the Second Circuit. See In re GSE Bonds Antitrust Litig., 414 F.Supp.3d 686, 691 (S.D.N.Y.

2019) (Rakoff, J). The 2018 Advisory Committee Notes to the amendment to Rule 23(e)(2) state

that the goal is not to “displace any [circuit-specific] factor, but rather to focus the court and the

lawyers on the core concerns of procedure and substance” to decide whether a settlement should

be approved. See 2018 Advisory Notes to Fed. R. Civ. P. 23, Subdiv. (e)(2) (“2018 Advisory

Note”). The Second Circuit also requires consideration of the nine factors set out in City of


                                                  11
         Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 19 of 33




Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974), abrogated on other grounds by

Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). 13 Both settlements before the

Court should be preliminarily approved. They are the product of arm’s-length, good faith

negotiations, provide significant benefits to Class members and, we submit, will be appropriate

for final approval.

        A.      The Settlements Are Procedurally Fair

        The settlements before the Court are procedurally fair. To determine whether a

settlement is procedurally fair, Rule 23(e) requires the Court to find that “the class

representatives and class counsel have adequately represented the class” and “the proposal was

negotiated at arm’s length.” Rule 23(e)(2)(A)-(B). Courts afford counsel’s opinion considerable

weight because they are closest to the facts and risks associated with the litigation itself.

Oklahoma Firefighters Pension & Ret. Sys. v. Lexmark Int’l, Inc., No. 17CV5543, 2021 WL

76328, at *1 (S.D.N.Y. Jan. 7, 2021). The Settlements are also entitled to a presumption of

reasonableness given that the Class Representative, who has actively supervised the Action and

endorsed the Settlements, is a sophisticated investor who successfully operated an investment

fund for 25 years and continues to actively invest for himself and family accounts. See In re Hi-

Crush Partners L.P. Sec. Litig., No. 12-CIV-8557 CM, 2014 WL 7323417, at *5 (S.D.N.Y. Dec.

19, 2014) (a settlement reached under supervision and endorsement of sophisticated investor is

entitled to an even greater presumption of reasonableness). As demonstrated by their vigorous

work on behalf of the Class over more than five years, including obtaining favorable orders on

motions to dismiss, class certification and summary judgment, and taking the case to the eve of




13
     The Grinnell factors are discussed in Section II., infra.

                                                  12
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 20 of 33




trial, Plaintiff’s Counsel have adequately represented the Class. Further, as discussed, the

settlements are the product of arm’s length negotiations.

               1.      Adequate Representation

       The “essential question in determining whether the Settlement complies with the

adequate representation doctrine is whether the interests that were served by the Settlement were

compatible with” those of all the settlement class members. Wal-Mart Stores, 396 F.3d at 110.

Here, the Class Representative’s interests are completely aligned with those of the Class

members. As a purchaser of Dakota Plains stock on the open market, the Class Representative

has the same interest as all Class members in obtaining the best possible recovery under all the

circumstances. He will be treated identically under the settlements as all other Class members.

       Further, the Class Representative and Class members have been represented in this action

by sophisticated and highly qualified counsel as recognized by Judge Pauley in appointing Class

Counsel. 14 See In re Am. Int'l Grp., Inc. Sec. Litig., 293 F.R.D. 459, 464 (S.D.N.Y. 2013); In re

Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 29 (E.D.N.Y.

2019). Class Counsel, the law firm of Cera LLP, together with other counsel retained to assist in

the prosecution of the Action, including MoloLamken LLP, and Abraham, Fruchter & Twersky

LLP have amply demonstrated, by bringing this case to trial, that they have adequately

represented the Class, including in the settlement process.

               2.      The Proposed Settlements Are the Product of Good Faith, Informed,
                       and Arm’s-Length Negotiations
       The proposed settlements are the product of good faith, informed, and arm’s length




14
    Gruber v. Gilbertson, 2019 WL 4439415 (S.D.N.Y. Sept. 17, 2019). Class Counsel have
also acted in the best interests of the Class by adding highly qualified trial counsel to the trial
team, Steven F. Molo, Esq. and the firm of MoloLamken LLP.

                                                  13
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 21 of 33




negotiations. The D&O Settlement was reached only after extensive negotiations overseen by a

nationally recognized mediator and former federal judge. The recent mediation occurred after all

fact and expert discovery and pretrial motions (save for motions for limine) had been completed

and resolved, and with a trial date looming. See D’Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d

Cir. 2001) (mediator involvement “helps to ensure that the proceedings were free of collusion

and undue pressure”). The D&O Settlement is unquestionably the product of good faith, fully

informed, arm’s length negotiations.

        So too is the settlement with defendant Gilbertson. Cera LLP and MoloLamken LLP and

counsel for defendant Gilbertson negotiated in good faith, and were fully informed as to the facts

and Gilbertson’s financial condition. Gilbertson and his counsel have satisfied counsel that he

has no money left with which to satisfy any money judgment. Nonetheless, the value of

Gilbertson’s cooperation has already begun to be realized, as he is assisting Plaintiff’s Counsel in

their trial preparation, and will himself be testifying at trial, a significant benefit for the Class.

The Gilbertson Settlement is clearly non-collusive and should be preliminarily approved.

        B.      The Settlements Are Substantively Fair

        The Court is likely to be able to finally approve the settlements. To determine whether a

settlement is substantively fair, a court considers the factors set forth in Rule 23(e)(2)(C). The

Court must also evaluate whether “the proposal treats class members equitably relative to each

other.” Rule 23(e)(2)(D).

                1.      The Costs, Risks, and Delay of Trial and Appeal

        Here, a recovery at trial for the Class in the absence of settlement with the Officer and

Director Defendants is uncertain. Such a recovery at trial would be dependent on the Class

prevailing on complex factual and damage issues in light of competing theories as to the scienter



                                                   14
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 22 of 33




of the eight officer and director defendants with regard to Reger and Gilbertson’s scheme, and

whether and when each one knew about it. These defendants have always aggressively argued

that they had no concrete information about the scheme that would trigger a disclosure

obligation. Moreover, they contend that the disclosure obligation as to more than 5%

shareholders rests with those individual shareholders and not the issuing entity. There is also the

risk that the jury could lay blame exclusively on Reger and Gilbertson. See Park v. The

Thomson Corp., 2008 WL 4684232, at *4 (S.D.N.Y. Oct. 22, 2008) (“The complexity of

Plaintiff’s claims ipso facto creates uncertainty. . . . A trial on these issues would likely be

confusing to a jury.”). In light of these issues, the D&O Settlement calls for an immediate cash

payment in the amount of $13,950,000, a significant percentage of recoverable damages. A

recovery of approximately 21 percent of the total damages is well within the range of settlements

approved within this District. See Christine Asia Co. v. Yun Ma, No. 15-MD-02631 (CM)

(SDA), 2019 WL 5257534, at *14 (S.D.N.Y. Oct. 16, 2019) (17% recovery of maximum

recoverable damages as determined by Plaintiff’s expert approved); In re Merrill Lynch & Co.,

Inc. Research Reports Sec. Litig., No. 02 MDL 1484, 2007 WL 313474, at *10 (S.D.N.Y. Feb. 1,

2007) (6.25% recovery was “at the higher end of the range of reasonableness of recovery in class

action [] securities litigation”).

        The Officers and Director Defendants’ position is that no damages are recoverable

against them. Any recovery for Class members absent settlement would depend on a jury

finding the Officer and Director Defendants either knew or were reckless in not knowing about

the many steps taken by Reger and Gilbertson to conceal their five percent ownership and their

scheme. A jury could also conclude that while some liability and therefore financial

responsibility exists for one or more of the Officer and Director Defendants, the most culpable



                                                 15
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 23 of 33




defendants were Reger and Gilbertson. A small apportionment of liability—or even no

liability—would result in the Class receiving a nominal amount or no money from the Officer

and Director Defendants. In stark contrast to these risks and uncertainties and the prospect of the

available insurance policies continuing to be expended on defense counsel’s fees and costs,

including a potential appeal, the settlement consideration here presents a significant current and

certain recovery for the Class. “In assessing the Settlement, the Court should balance the

benefits afforded the Class, including the immediacy and certainty of a recovery, against the

continuing risks of litigation.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust

Litig., 986 F.Supp.2d 207, 212 (E.D.N.Y. 2013) (emphasis in original); Charron v. Pinnacle

Grp. NY LLC, 874 F.Supp.2d 179, 201 (S.D.N.Y. 2012) (quoting Gilliam v. Addicts Rehab. Ctr.

Fund, 2008 WL 782596, at *5 (S.D.N.Y. Mar. 24, 2008) (finding that a settlement is reasonable

when it “assures immediate payment of substantial amounts to Class Members, ‘even if it means

sacrificing speculative payment of a hypothetically larger amount years down the road . . . .’”)).

In addition, the Class also benefits from the cooperation of the Officer and Director Defendants,

including the participation at trial of up to three (3) of the Officer and Director Defendants.

       The Gilbertson Settlement includes his cooperation and trial testimony about, among

other things, the scheme with Reger to conceal their ownership in and exercise of control over

Dakota Plains. Gilbertson’s testimony will provide critical information for the jury on which to

evaluate defendant Reger’s conduct. Further, Gilbertson has established that he is unable to pay

any cash settlement due to the restitution and fines levied against him in the related criminal

proceedings and his having incurred large attorney’s fees obligations from the criminal trial and

related appeals, his defense fees and costs in this case, and his role as a defendant in at least one

other action. See Apex Financial Options, LLC v. Gilbertson, et al., Case No. 19-0046-WCB (D.



                                                  16
       Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 24 of 33




Del.). After careful evaluation by counsel and with the approval of the Class Representative, it

was reasonably concluded that Gilbertson’s cooperation and testimony is far more valuable and

beneficial to the Class than pursuit of a worthless money judgment. See In re GSE Bonds, 414

F.Supp.3d at 698-99 (Rakoff, J).

               2.     The Proposed Method of Processing Claims and Distributing Relief is
                      Equitable
       The Settlement Notice sets forth the proposed Plan of Allocation to govern the

distribution of the D&O Settlement proceeds to Class members who submit a timely and valid

Proof of Claim. While approval of a plan of allocation is a discretionary decision for the court,

In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 132 (S.D.N.Y. 1997), approval will issue

if a plan is “fair and adequate.” In re Facebook, Inc. IPO Sec. & Derivative Litig., 2015 WL

6971424, at *7 (S.D.N.Y. Nov. 9, 2015), aff'd sub nom. In re Facebook, Inc., 674 F. App'x 37

(2d Cir. 2016). “An allocation formula need only have a reasonable, rational basis, particularly

if recommended by experienced and competent class counsel.” Id.; accord Xuechen Yang v.

Focus Media Holding Ltd., 2014 WL 4401280, at *9 (S.D.N.Y. Sept. 4, 2014).

       The proposed Plan of Allocation included in the Settlement Notice measures the amount

of loss that a Class member can claim for purposes of making pro rata allocations of the Net

Settlement Fund to Authorized Claimants. 15 It is not, and need not be, premised on a formalized

damage analysis, but rather is based upon a Class member’s purchases and sales during the Class

Period using a constant valuation of Dakota Plains common stock of $0.03, as determined by the

Class’ damages expert. Indeed, this is the expert opinion that has been presented in his expert



15
    The Net Settlement Fund is the total Settlement Amount plus interest thereon, less any Taxes,
Notice and Administration Costs, and less any attorneys’ fee and litigation expenses awarded by
the Court.

                                                17
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 25 of 33




report. “A plan of allocation that calls for the pro rata distribution of settlement proceeds on the

basis of investment loss is presumptively reasonable.” See In re Merrill Lynch Tyco Rsch. Sec.

Litig., 249 F.R.D. 124, 135 (S.D.N.Y. 2008). The proposed Plan of Allocation is thus equitable.

The Class Representative will be treated under the Plan of Allocation in the same manner as all

other Class members insofar as his claim is concerned. 16

               3.      The Terms of Any Proposed Award of Attorneys’ Fees

       Plaintiff’s Counsel will apply for an award of attorneys’ fee of one-third of the settlement

funds. An attorneys’ fee request of one-third is comparable to the fees awarded in similar

complex cases. 17 Plaintiff’s Counsel will also ask for an award of unreimbursed litigation costs

and expenses incurred to date not to exceed of $1,500,000, together with claims administration

expenses in connection with the notice of the settlements not to exceed $100,000. See Story v.

SEFCU, 2021 WL 736962, at *11 (N.D.N.Y. Feb. 25, 2021) (“Attorneys may be compensated

for reasonable out-of-pocket expenses incurred . . . as long as they were ‘incidental and

necessary to the representation[.]’”); Meredith Corp. v. SESAC LLC, 87 F. Supp. 3d 650, 671

(S.D.N.Y. 2015) (reasonably incurred expenses may be reimbursed from the settlement fund).




16
    This is separate from the Class Representative’s right to seek reimbursement of his
reasonable costs and expenses directly related to his participation in the Action pursuant to the
PSLRA. 15 U.S.C. §78u-4(a)(4).
17
    See In re Facebook, Inc. IPO Sec. & Derivative Litig., 2015 WL 6971424, at *1, *9 (33% fee
of $26.5 million settlement); In re U.S. Foodservice, Inc. Pricing Litig., No. 3:07-md-1894
(AWT), slip op. at 7 (D. Conn. Dec. 9, 2014) (1/3 fee of $297 million settlement fund); In re
NYSE Specialists Sec. Litig., No. 03-cv-8264 (RWS), slip op at 10 (S.D.N.Y. June 10, 2013)
(41% fee of $18.5 million settlement); In re Marsh ERISA Litig., 265 F.R.D. at 135, 146–47
(33.33% fee of $35 million settlement); Khait v. Whirlpool Corp., 2010 WL 2025106, at *1, *8
(E.D.N.Y. Jan. 20, 2010) (33% fee of $9.25 million settlement); In re Initial Pub. Offering Sec.
Litig., 671 F. Supp. 2d 467, 516 (S.D.N.Y. 2009) (one-third fee of $510 million net settlement
recovery).

                                                 18
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 26 of 33




Given the more than five (5) year long litigation effort in this Action, such expenses have been

reasonably incurred on behalf of the Class. 18

II.    THE PROPOSED SETTLEMENTS SATISFY THE GRINNELL FACTORS

       In addition to satisfying the Rule 23(e)(2) standards for preliminary approval, the

settlements also pass muster applying the Grinnell factors.

       A.      Complexity, Expense, Likely Duration

       The first Grinnell factor overlaps with the Rule 23(e)(2)(C)(i) reference to “the costs,

risks, and delay of trial and appeal” addressed above. Rule 23(e)(2)(C)(i).

       B.      Reaction of Class

       The reaction of the Class to the settlements is unknown at this stage and will not be until

the objection deadline has passed. In re Warner Chilcott Ltd. Sec. Litig., No. 06CIV11515, 2008

WL 5110904, at *2 (S.D.N.Y. Nov. 20, 2008) (consideration of this factor generally premature at

this stage). As noted, no members of the Class chose to opt out following dissemination of the

Notice of Pendency in September 2021. While the option to object to the settlements is

preserved in the proposed Settlement Notice, it is submitted that there should be no new,

additional opportunity to opt-out at this time. The Notice of Pendency informed potential class

members that the failure to opt out could waive an opportunity to opt out in the future. Gruber v.

Gilbertson, 2021 WL 3524089, at *5 (S.D.N.Y. Aug. 10, 2021). Since the Notice of Pendency

was relatively recently sent to Class members with an opt-out deadline of October 25, 2021 and

no Class members opted out, allowing a second opportunity to opt out could raise uncertainty




18
    Rule 23(e)(2)(C) requires the parties to disclose any agreement made in connection with the
settlement. Rule 23(e)(2)(C). There are no such agreements other than as reflected in the
settlement agreements themselves.

                                                 19
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 27 of 33




and potential confusion. Therefore, while the opportunity to object to the settlements is of

course preserved, the Settling Parties request that this Court exercise its discretion to not allow a

second opportunity to opt out of the Class. See Denney v. Deutsche Bank AG, 443 F.3d 253,

270–71 (2d Cir. 2006) (no abuse of discretion in not allowing a second opt-out); see also Lowery

v. City of Albuquerque, No. CIV 09-0457 JB/WDS, 2013 WL 1010384, at *32 (D.N.M. Feb. 27,

2013) citing Moulton v. United States Steel Corp., 581 F.3d 344, 354 (6th Cir. 2009) (“The

decision whether to reject a proposed settlement because class members were not given the

opportunity to opt out is purely discretionary for the court, and courts ‘are not compelled to’

reject a settlement on this basis.”); see also In re Healthsouth Corp. Sec. Litig., 334 F.App’x 248,

255 n. 12 (11th Cir. 2009) (the decision to permit a second opt out “is wholly within the

discretion of the district court.”). There should be no second opt out right here.

       C.      Stage of Proceedings and Amount of Discovery

       The third Grinnell factor considers the settlements in light of the stage of the

proceedings, with consideration of the amount of investigation, discovery and motion practice

conducted at the time of the settlement. This factor weighs heavily in favor of approving the

settlements. Here, the plaintiff has “‘sufficient information to make an informed judgment on

the reasonableness of the settlement proposal.’” See In re Excess Value Ins. Coverage Litig., No.

M-21-84RMB, 2004 WL 1724980, at *12 (S.D.N.Y. July 30, 2004) (citing Diamond v.

Fogelman, No. CV–90–0900, 1992 WL 167271, at *4 (E.D.N.Y. June 26, 1992); Polar Int'l

Brokerage Corp. v. Reeve, 187 F.R.D. 108, 114 (S.D.N.Y. 1999) (same). All fact and expert

discovery, as well as pre-trial motion practice have been completed. This factor strongly

supports preliminary approval of the settlements.




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        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 28 of 33




        D.      Risk of Establishing Liability and Damages

        When evaluating the fourth and fifth Grinnell factors (the risk of establishing liability and

damages), “the Court should balance the benefits afforded to the Class, including the immediacy

and certainty of a recovery, against the continuing risks of litigation.” City of Providence v.

Aeropostale, Inc., No. 11 CIV. 7132 CM GWG, 2014 WL 1883494, at *7 (S.D.N.Y. May 9,

2014), aff'd sub nom. Arbuthnot v. Pierson, 607 F.App'x 73 (2d Cir. 2015). While the Class is

confident in its litigation positions, it recognizes that risks associated with establishing liability

and damages are present here and that there is a risk of no recovery at all if the case proceeded

against the Officer and Director Defendants. With respect to liability, the Officer and Director

Defendants have taken the position that they were not aware of Reger’s and Gilbertson’s scheme,

and conducted serious investigations to ferret out who manipulated Dakota Plains stock. Even if

the jury were to agree with the Class, the Officer and Director Defendants would almost certainly

raise their position with the Second Circuit in the event of an adverse verdict. See Park, 2008

WL 4684232, at *4 (“The complexity of Plaintiff’s claims ipso facto creates uncertainty . . . .

A trial on these issues would likely be confusing to a jury.”). See In re Veeco Instruments Inc.

Sec. Litig., No. 05 MDL 01695 (CM), 2007 WL 4115809, at *10 (S.D.N.Y. Nov. 7, 2007) citing

In re Warner Commc’ns Sec. Litig., 618 F. Supp. 735, 744–45 (S.D.N.Y. 1985), aff'd, 798 F.2d

35, 38 (2d Cir. 1986). Accordingly, the fourth and fifth Grinnell factors weigh in favor of

preliminary approval.

        E.      Risk of Maintaining the Class

        The sixth Grinnell factor looks to the risks of maintaining a class action through trial.

While the Class has previously been certified and a motion for decertification denied, the Court

can revisit certification at any time prior to judgment. Rule 23(c)(1)(C). Because there is some



                                                   21
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 29 of 33




risk that yet another effort to decertify could arise, this factor weighs in favor of preliminary

approval.

       F.        Ability of Defendant to Withstand Greater Judgment

       The seventh Grinnell factor is particularly important given that Dakota Plains went

bankrupt and all of the settling defendants are individuals. As to the Officer and Director

Defendants, to proceed through a trial and possible appeals would dramatically diminish the

available insurance proceeds. Further, there is a real possibility that the officers and directors

who may be deemed culpable by a jury would have no individual ability to satisfy any significant

judgment. And, as noted, Gilbertson has no significant personal assets in light of his large

payments to the government and his related ongoing obligations. This factor supports

preliminary approval of the Settlements.

       G.        Reasonableness of the Settlements in Light of Attendant Risks of Litigation

       The reasonableness of the Settlements and attendant risks of litigation (Grinnell factors

eight and nine) likewise support approval. ‘“[T]here is a range of reasonableness with respect to

a settlement—a range which recognizes the uncertainties of law and fact in any particular case

and the concomitant risks and costs necessarily inherent in taking any litigation to completion . .

. .’” Wal-Mart Stores, Inc., 396 F.3d at 119 (quoting Newman v. Stein, 464 F.2d 689, 693 (2d

Cir. 1972)). ‘“[T]he judge will not be reversed if the appellate court concludes that the

settlement lies within that range.’” Id. (quoting Newman, 464 F.2d at 693). The Class’s

damages expert has estimated likely recoverable damages as approximately $66 million before

pre-judgment interest. The $13,950,000 cash settlement from the Officer and Director

Defendants is more than 20% of these estimated damages, an excellent recovery under the

circumstances.



                                                 22
        Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 30 of 33




III.   THE MANNER AND FORM OF NOTICE SHOULD BE APPROVED

       A.      The Manner of Notice Satisfies Rule 23(e)(1)

       If the Court grants preliminary approval, it “must direct notice in a reasonable manner to

all class members who would be bound by the proposal.” Rule 23(e)(1). Notice must be “the

best notice that is practicable under the circumstances, including individual notice to all members

who can be identified through reasonable effort.” Rule 23(c)(2)(B).

       The notice plan set forth in the settlement agreements calls for the Settlement Notice to

be sent by direct mail to those Class members that can be identified by reasonable means. See

also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175 (1974) (recognizing that direct mail is

“best notice practicable” where names and addresses of class members are “easily

ascertainable”). 19 Notice plans that include direct mailings and publication notice are frequently

approved in class action cases. See, e.g., Wal-Mart Stores, 396 F.3d at 105; In re Credit Default

Swaps Antitrust Litig., 2016 WL 2731524, at *5 (S.D.N.Y. Apr. 26, 2016). Accordingly, it is

respectfully requested that the Court approve the plan for dissemination of the Settlement Notice.

       B.      The Form of Notice Satisfies Rule 23(c)(2)(B)

       As discussed, each of the requirements of Rule 23(c)(2)(B) is satisfied by the Settlement

Notice proposed here. 20 “The standard for the adequacy of a settlement notice in a class action

under either the Due Process Clause or the Federal Rules is measured by reasonableness.” Wal-




19
  Consistent with the Notice of Pendency previously disseminated in this Action, a summary
notice is also proposed to be published in the Wall Street Journal and Minneapolis Star Tribune,
as well as on the PR Newswire.
20
    In addition, as required by the PSLRA, 15 U.S.C. §78u-4(a)(7)(A-D) , the Settlement Notice
states: (i) the amount proposed to be distributed in the aggregate and on a per share basis; (ii) the
Settling Parties’ disagreement as to the amount of damages recoverable; and (iii) the amount of
fees and costs on a per share basis.

                                                 23
         Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 31 of 33




Mart Stores, 396 F.3d at 113-14. “There are no rigid rules to determine whether a settlement

notice to the class satisfies constitutional or Rule 23(e) requirements; the settlement notice must

fairly apprise the prospective members of the class of the terms of the proposed settlement and of

the options that are open to them in connection with the proceedings.” Id. at 114. Such is the

case here. 21

IV.      PROPOSED SCHEDULE OF SETTLEMENT EVENTS

         Entry of the proposed Preliminary Approval Order would, among other things, direct

notice of the proposed settlement to all members of the Class. As such, the Preliminary

Approval Order sets forth a proposed schedule for mailing and publication of the Settlement

Notice and Publication Notice, and deadlines for submitting claims and/or objecting to the

proposed settlements, as well as a provision to set the final fairness hearing on a date and time

convenient to the Court.

         Class Counsel requests the schedule set forth below.



 Event                                                     Deadline
 Notice of Proposed Settlements and Copy of Proof of       No later than 15 business days after
 Claim Mailed to Class Members (PAO, ¶4(b))                entry of the PAO
 Summary Notice published (PAO, ¶4(c))                     No later than 10 days after the mailing
                                                           of the Settlement Notice
 Class Counsel shall file with the Court proof, by         No later than 7 days prior to Final
 affidavit or declaration, of such mailing and             Settlement Hearing
 publication (PAO, ¶4(d))
 Notice Packet shall be posted to the website              No later than 5 days after the mailing
 wwww.dakotaplainssecuritieslitigation.com (PAO,           of the Notice
 ¶4(e))


21
    The Angeion Group was previously approved by the Court as the administrative agent
directed to handle dissemination of the Notice of Pendency and should act in a similar capacity
with regard to the Settlements.

                                                 24
       Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 32 of 33




 Final Approval Hearing                                    To be determined by the court
 Deadline to file papers in support of final approval of   No later than 28 calendar days before
 Settlements and application for attorneys’ fees,          the Final Approval Hearing
 reimbursement of litigation expenses, and an award
 to Class Representative, and final application for
 approval of the Plan of Allocation (PAO, ¶23)
 Deadline for Objections to the Settlements, Plan of       No later than 14 calendar days before
 Allocation, Attorneys’ Fees and Litigation Expenses       the Final Approval Hearing
 (PAO, ¶10)
 Deadline to file reply brief, if necessary (PAO, ¶23)     No later than 7 calendar days before
                                                           the Final Approval Hearing
 Deadline for submitting Proof of Claim forms (PAO,        Postmarked no later than 60 calendar
 ¶7)                                                       days after the Notice

                                         CONCLUSION

       For all the foregoing reasons, the Class Representative respectfully requests that the

Court (i) preliminarily approve the D&O Settlement and the Gilbertson Settlement; (ii) approve

the Settlement Notice; and (iii) schedule a date and time for the Final Approval Hearing to

consider final approval of the Settlements and related matters.

 Dated: May 23, 2022                         Respectfully submitted,

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                                                25
Case 1:16-cv-09727-JSR Document 460 Filed 05/23/22 Page 33 of 33



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                               26
